        Case 1:19-cv-10062-JPC-JLC Document 35 Filed 10/15/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X               10/15/2020
                                                                       :
MARCOS CALCANO,                                                        :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     19-CV-10062 (JPC)
                  -v-                                                  :
                                                                       :       NOTICE OF
AMERICAN EAGLE OUTFITTERS, INC.,                                       :     REASSIGNMENT
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. Unless and until the Court orders otherwise, all prior orders, dates, and deadlines

shall remain in effect notwithstanding the case’s reassignment. Any currently scheduled conference

or oral argument before this Court is adjourned pending further order of this Court, but any

conference or oral argument before the Magistrate Judge will proceed as ordered.

        SO ORDERED.

Dated: October 15, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
